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                          UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                              FORT WORTH DIVISION

GOLDMAN VISTA HOLDINGS LLC                     §
DBA KRYSTAL CLEAN CAR WASH                     §
                                               §
        Plaintiff,                             §
                                               §
vs.                                            § CIVIL ACTION NO. 4:22-cv-431
                                               §
OHIO SECURITY INSURANCE                        §
COMPANY,                                       §
                                               §
        Defendant.                             §


               DEFENDANT OHIO SECURITY INSURANCE COMPANY'S
                           NOTICE OF REMOVAL

TO THE HONORABLE UNITED STATES DISTRICT COURT:

        Defendant Ohio Security Insurance Company (“OSIC”) respectfully petitions this Court

for removal of the above-entitled action to the United States District Court for the Northern District

of Texas from the District Court of Tarrant County, Texas, and for its Notice of Removal states:

                                           I.
                                  REMOVAL JURISDICTION

        1.     Under 28 U.S.C § 1441(a), “any civil action brought in a State court of which the

district courts of the United States have original jurisdiction, may be removed by the defendant(s),

to the district court of the United States for the district and division embracing the place where

such action is pending.”

        2.     This action, entitled Goldman Vista Holdings LLC dba Krystal Clean Car Wash v.

Ohio Security Insurance Company, pending in the 236th District Court of Tarrant County, Texas,

Cause No. 236-332949-22, was commenced against OSIC via the filing of Plaintiff’s Original



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Petition (the “Petition”) on April 7, 2022. See Exhibit A, Index of Documents Filed in State Court,

with the attached Petition.

         3.    OSIC was served on April 19, 2022. Accordingly, this notice of removal is timely

filed pursuant to 28 U.S.C. § 1446(b).

         4.    Plaintiff, Goldman Vista Holdings LLC dba Krystal Clean Car Wash (“Goldman

Vista”), is a limited liability company with its principal place of business in Texas. “The

citizenship of a[n] LLC is determined by the citizenship of all of its members,” Harvey v. Grey

Wolf Drilling Co., 542 F.3d 1077, 1080 (5th Cir. 2008). Goldman Vista Holdings has two

members, Hanh Tran and Ruby Tran, who are both citizens of Texas. Thus, Goldman Vista

Holdings LLC is a citizen of Texas.

         5.    OSIC is a company organized under the laws of the State of New Hampshire, with

its principal place of business in Boston, Massachusetts. For diversity purposes, OSIC is a citizen

of both New Hampshire and Massachusetts.

         6.    Plaintiff alleges causes of action against OSIC for breach of contract, violations of

the Texas Insurance Code, and also makes a request for declaratory judgment. See Ex. A-2, ¶¶

24-29.

         7.    Accordingly, removal is proper because there is complete diversity between the

named parties under 28 U.S.C. § 1332.

                                         II.
                               AMOUNT IN CONTROVERSY

         8.    This is a civil action in which the amount in controversy exceeds the sum of

$75,000, exclusive of interest and costs. Plaintiff has pled that he seeks monetary relief over

$250,000 but less than $1,000,000. See Ex. A-2, ¶ 6. Plaintiff additionally claims contractual

damages alone of $299,355.43. See Plaintiff’s January 14, 2022, Demand Letter as Exhibit B, p.

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2. Plaintiff further requests three times his actual contractual damages of $299,355.43 for OSIC’s

alleged noncompliance with the Texas Insurance Code. See Ex. A-2, ¶ 28. Plaintiff further

requests reasonable attorney’s fees. See Ex. A-2, ¶ 30.

         9.       Thus, because Plaintiff’s alleged actual damages are in excess of $75,000, exclusive

of interest and costsb and because Plaintiff could potentially recover both treble damages and his

attorney’s fees under the law, it is apparent that the damages sought by Plaintiff are greater than

$75,000, exclusive of interest and costs. Therefore, the amount in controversy requirement of 28

U.S.C. § 1332(a) is satisfied.

                                               III.
                                          ATTACHMENTS

         10.      In accordance with 28 U.S.C. § 1446(a) and L.R. 81.1, the following are attached

to this notice:

        An index of all documents filed in the state court that clearly identifies each
         document and indicates the date the document was filed (see Exhibit A);
        A completed cover sheet;
        A supplemental cover sheet;
        A copy of the docket sheet in the state court action;
        Each document filed in the state court action filed as a separate attachment; and
        A separately signed certificate of interested persons.

                                             IV.
                                   NOTICE TO STATE COURT

         11.      Pursuant to 28 U.S.C. § 1446(d), written notice of the filing of this notice of

removal will promptly be given to all parties and to the clerk of the District Court of Tarrant

County, Texas.

         12.      Pursuant to Federal Rule of Civil Procedure 38, OSIC demands a trial by jury.




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                                               V.
                                             PRAYER

        WHEREFORE, PREMISES CONSIDERED, OSIC respectfully gives notice that this state

court action has been removed and placed on this Court’s docket for further proceedings. OSIC

further requests any additional relief to which it may be justly entitled.

                                                       Respectfully Submitted,

                                                       /s/Kieran W. Leary
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                                                       ATTORNEYS FOR DEFENDANT
                                                       OHIO SECURITY INSURANCE
                                                       COMPANY


                                 CERTIFICATE OF SERVICE

       The undersigned does hereby certify that a true and correct copy of the foregoing document
was electronically filed and duly served upon all parties entitled to receive notice via the Court’s
CM/ECF Court Filing System this 18th day of May, 2022.

                                                       /s/Kieran W. Leary
                                                       Kieran W. Leary




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